Case 8:23-cv-01243-KKM-LSG      Document 134      Filed 07/15/25   Page 1 of 60 PageID
                                      1639



                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION


 DIANA PERCIVAL,

       Plaintiff,

 v.                                             Case No. 8:23-cv-1243-KKM-LSG

 SHERIFF CHAD CHRONISTER,
 in his official capacity,
 DEPUTY MARCOS PERERA,
 in his individual capacity,
 DEPUTY JORDAN
 BRIZENDINE,
 in his individual capacity, and
 DAVID LEDUC,

       Defendants.
 ___________________________________

                                      ORDER

       Diana Percival alleges that Deputies Marcos Perera and Jordan Brizendine

 violated federal and state law when they entered her home and arrested her. Percival

 pleads ten claims against the deputies in their individual capacities and four claims

 against Sheriff Chad Chronister in his official capacity. Perera, Brizendine, and

 Chronister (the Sheriff Defendants) move for summary judgment as to all fourteen
Case 8:23-cv-01243-KKM-LSG        Document 134      Filed 07/15/25    Page 2 of 60 PageID
                                        1640



 claims. Mot. for Summary J. (MSJ) (Doc. 116). For the reasons below, I grant in

 part and deny in part the motion.

  I.   BACKGROUND

       In 2017, David Leduc and Diana Percival began a romantic relationship. Joint

 Statement of Undisputed Facts (JSUF) (Doc. 117) ¶ 5. Leduc began spending more

 time at Percival’s home, and Percival gave him a garage door opener to use for entry.

 MSJ at 2; Resp. (Doc. 129) at 2. Leduc testified that he lived with Percival for the

 next two years. Leduc Dep. (Doc. 116-3) at 29:16–18. He kept clothing, medicine,

 and toiletries at the home as well as a computer monitor and hard drive that he used

 to operate his business. Id. at 33:15–34:14, 44:3–11, 68:19–25. Over the same

 period, though, Leduc maintained his own residence. See id. at 13:17–25; see (Doc.

 129-2) at 9. His name was never on the deed to Percival’s home, and he never paid

 rent, contributed to Percival’s mortgage, or assisted with utility bills. Id. at 112:2–4,

 114:10–15. Also, Percival claims that she never gave Leduc a key. Percival Dep.

 (Doc. 116-4) at 47:1–23.

       When the romance came to an end, Percival disabled Leduc’s garage door

 opener and “locked [Leduc] out of the house.” JSUF ¶ 6 (quoting Leduc Dep. at

 39:1). Leduc, needing some of his belongings that remained in the home, called the
                                            2
Case 8:23-cv-01243-KKM-LSG             Document 134        Filed 07/15/25       Page 3 of 60 PageID
                                             1641



 police for assistance. Id. On May 23, 2020, Deputy Marcos Perera accompanied

 Leduc to Percival’s home. JSUF ¶ 7. According to Perera, Percival advised him that

 Leduc had lived at the residence, Perera Dep. (Doc. 116-1) at 22:22–23:2, 26:22–

 27:6, but Percival was “uncooperative” and denied Leduc entry. JSUF ¶ 8. Percival

 denies telling Perera that Leduc lived with her. Percival Dep. at 59:9–23.

        About a week later, Deputy Perera was again dispatched to Percival’s home to

 assist Leduc. JSUF ¶ 9; Leduc Dep. at 59:2–4. According to Percival, when Perera

 and Leduc walked to the door, Perera informed her that Leduc was there “to get

 into his residence,” which was reflected on his driver’s license. Percival Dep. at 74:1–

 19. 1 Percival responded that Leduc did not reside at the home. Id. In the light of

 Percival’s demeanor and behavior and the “fact that [Percival and Leduc] both

 claimed [a week prior] that [Leduc] lived there,” Perera testified that he “truthfully

 believed” that Leduc lived at the home and that Percival claimed otherwise only

 “because she didn’t want to give [Leduc] his property back.” Perera Dep. at 32:12,

 70:7–18.



 1
  Perera testified that he reviewed Leduc’s license, and it revealed an address other than Percival’s.
 Perera Dep. at 35:1–8. Although this gave Perera “pause,” Perera explained that because “plenty
 of people” do not “update their addresses on their licenses,” the disparity was “not an end all be all
 decision maker.” Id. at 35:11–17.
                                                   3
Case 8:23-cv-01243-KKM-LSG       Document 134     Filed 07/15/25   Page 4 of 60 PageID
                                       1642



       According to video footage of Percival’s front porch, Percival let Leduc inside

 after about two minutes. (Doc. 116-6) at 1:00–2:50. But when Perera followed,

 Percival told Perera “to get out,” and both Perera and Leduc exited. Id. at 2:54–3:23;

 Perera Dep. at 30:8–31:15; Percival Dep. at 82:17–19. Believing that Leduc was a

 resident, Perera told Leduc that he “was allowed to make entry . . . however he needs

 to.” Perera Dep. at 41:1–3. A few minutes later, Leduc attempted to reenter. (Doc.

 116-6) at 5:41–45. In response, Percival, standing in the doorway, placed her hand

 on Leduc’s chest and pushed him backwards:




                                           4
Case 8:23-cv-01243-KKM-LSG      Document 134     Filed 07/15/25   Page 5 of 60 PageID
                                      1643



 (Doc. 116-7). Perera believed that Percival committed the crime of simple battery

 by shoving Leduc but decided not to arrest her. Perera Dep. at 41:13–42:13; Perera’s

 Criminal Report Aff. (Doc. 116-10) at 2. Perera had called for backup and wanted

 to wait before arresting Percival. Perera Dep. at 34:10–16, 42:10–13.

       Deputy Brizendine arrived shortly thereafter. Brizendine Dep. (Doc. 116-2)

 at 22:15–21; (Doc. 116-6) at 8:50–9:06. Perera informed Brizendine that Leduc

 “was a lawful resident of the home, and that while [Perera] was there communicating

 with the both of them, he observed Ms. Percival shove Mr. Leduc in the chest.”

 Brizendine Dep. at 25:21–26:1. Although Percival, “screaming to the top of her

 lungs through the front door,” insisted that Leduc did not live at the home or have

 possessions there, Leduc informed Brizendine that he lived at the home and

 operated a business out of it. Id. at 32:11–14, 35:13–14. Based on the information

 Perera provided, Brizendine believed that probable cause existed to arrest Percival

 for domestic battery. Id. at 87:10–17.

       As Perera briefed Brizendine on the situation, Leduc and Percival continued

 to argue near the doorway. (Doc. 116-6) at 9:11–10:10. The deputies then

 approached the door and Brizendine informed Percival that, because Leduc was a

 legal resident, he was allowed to enter the home. Brizendine Dep. at 38:13–15.
                                          5
Case 8:23-cv-01243-KKM-LSG      Document 134      Filed 07/15/25   Page 6 of 60 PageID
                                      1644



 Percival continued to deny that Leduc lived there. Id. at 39:5–8. Although

 Brizendine suggested to Leduc that he should obtain a court order, he also told

 Leduc that he could “use any means necessary to get into the home.” Id. at 39:9–14.

 Eventually, Leduc pushed his way into the home through the front door. (Doc. 116-

 6) at 11:54–59. For Leduc’s protection and out of the belief that “violence could

 reoccur,” the deputies followed him in. Id. at 11:59–12:06; see Brizendine Dep. at

 55:2–10.

       Once inside, Leduc began gathering his belongings, including some letters

 listing Leduc’s name and Percival’s address. JSUF ¶ 12; Brizendine Dep. at 73:10–

 22. Percival alleges that when she grabbed her checkbook to prevent Leduc from

 taking it, Brizendine grabbed her from behind, held her arms to her side, and pressed

 his chest to her back, only releasing her once Leduc told Brizendine that the

 checkbook belonged to Percival. Percival Aff. (Doc. 129-1) ¶¶ 25–26. Fearing for

 her safety, Percival called 911 “in hopes that the additional officers would protect

 [her] against” Leduc, Brizendine, and Perera. Id. ¶ 29; JSUF ¶ 13. Perera testified

 that this call constituted a misuse of 911, a misdemeanor in Florida, because there

 were already “two law enforcement officers” on the scene and Percival was calling

 “to report a crime that was not occurring.” Perera Dep. at 56:21–57:1.
                                          6
Case 8:23-cv-01243-KKM-LSG        Document 134     Filed 07/15/25    Page 7 of 60 PageID
                                        1645



       After Leduc collected what he needed, he went to exit the home. The parties

 are in dispute as to what happened next.

       According to Brizendine, Percival “charged at” Leduc as he was exiting.

 Brizendine Dep. at 75:21–76:3. When Brizendine told Percival not to touch Leduc,

 Brizendine alleges that Percival charged at him. Id. at 76:4–9. Percival got “within

 an inch of [Brizendine’s] face, and she had two balled fists.” Id. at 76:18–19.

 Brizendine pushed Percival away, but after she fell to the ground, she “immediately

 got back up with two fists and proceeded to aggresively charge at” Brizendine again.

 Id. at 78:7–15. This time, Brizendine states that he and Perera each grabbed an arm

 and restrained Percival. Id. at 78:16–20.

       Perera recounts these events somewhat differently. Standing behind

 Brizendine on the steps exiting Percival’s living room, Perera never witnessed

 Percival charge at or threaten Leduc. Perera Dep. at 51:3–5. He testifies that his

 view of Leduc, though, was “probably” blocked by Brizendine. Id. at 74:9–13.

 Perera’s recollection otherwise lines up with Brizendine’s. Perera testifies that, as

 Brizendine was walking up the steps, Percival got into Brizendine’s “face probably

 within an inch or two with her fist[s] clench[ed] and started just screaming . . . like,

 top of her lungs screaming.” Id. at 50:14–21. Then, like Brizendine, Perera testifies
                                             7
Case 8:23-cv-01243-KKM-LSG       Document 134     Filed 07/15/25   Page 8 of 60 PageID
                                       1646



 that the deputies restrained Percival as she charged at Brizendine for a second time.

 Id. at 52:1–7.

       The deputies both testify that they took Percival to the ground and then

 handcuffed her because “she was aggressively” trying to attack them. Id. at 52:21–

 25; Brizendine Dep. at 79:20–21.

       According to Leduc, Percival put her hands on him when he was trying to

 leave the home. Leduc Dep. at 71:19–72:13. Leduc testified that a deputy then

 reached for Percival’s arm, and she pulled it away, which led to the altercation

 between the deputy and Percival. Id. at 74:7–16. Leduc claims that Percival initiated

 the physical contact with the deputies. Id. at 74:20–75:3.

       Percival recalls things differently. Percival says that she did not touch Leduc

 or prevent him from leaving. Percival Aff. ¶¶ 33–34. When Percival asked the

 deputies to leave, Brizendine told her to “shut up.” Percival Dep. at 95:18–20;

 Percival Aff. ¶¶ 39–40. Then, the deputies gave a signal to each other and charged

 at her. Percival Dep. at 95:24–96:5; Percival Aff. ¶¶ 43, 45. Percival claims that

 Brizendine kicked one of her feet out from under her, slammed her to the ground,

 and placed both of his knees on her right shoulder and neck. Percival Dep. at 96:4–

 12, 98:4–12; Percival Aff. ¶ 46. Perera joined Brizendine and put one of his legs on
                                          8
Case 8:23-cv-01243-KKM-LSG        Document 134      Filed 07/15/25    Page 9 of 60 PageID
                                        1647



 Percival’s back. Percival Aff. ¶ 47. Percival says that she lost consciousness because

 of the deputies’ actions and woke up handcuffed near her front door. Percival Dep.

 at 96:15–25; Percival Aff. ¶ 54. Percival denies ever charging at Brizendine,

 screaming in his face with clenched fists, or fighting with either of the deputies.

 Percival Dep. at 97:5–98:3.

       In response, Brizendine testified that he never had his knees on Percival’s

 neck, back, or legs. Brizendine Dep. at 80:3–81:3. Perera testified that he did not

 use his knees or body weight to hold Percival down. Perera Dep. at 53:13–54:9. Both

 deputies deny kicking Percival’s foot out from under her. Brizendine Dep. at 80:6–

 8; Perera Dep. at 60:14–18. Perera and Leduc deny that Percival ever went

 unconscious. Perera Dep. at 54:9–11; Leduc Dep. at 81:15–17.

       As the deputies were carrying Percival to the front door, she informed them

 that her arm was broken. (Doc. 116-10) at 18. When Hillsborough County Fire

 Rescue arrived on the scene, Percival refused “to answer any questions” or “to go to

 the hospital.” Id. After the officers transported Percival to jail, the jailhouse medical

 provider did not detect any new injuries but reported that Percival indicated pain on

 the right side of her body, including in her shoulder. See (Doc. 116-8). Percival

 testified that the right side of her body was numb after the deputies arrested her and
                                            9
Case 8:23-cv-01243-KKM-LSG       Document 134      Filed 07/15/25   Page 10 of 60 PageID
                                       1648



 that she continues to experience random and periodic numbness. Id. at 99:9–10,

 128:18–20. When she was in jail, Percival discovered that she was bleeding from her

 rectum, and, after release from jail, Percival went to an emergency room. Id. at

 115:19–116:16. Percival testified that she had to undergo physical therapy and

 mental health counseling and that she received several injections for pain in her right

 shoulder. Id. at 118:24–120:18, 122:19–25, 124:5–128:22.

       The state charged Percival with three misdemeanors: battery, resisting an

 officer without violence, and misuse of the 911 system. (Doc. 116-12). These

 charges were later dropped. Second Am. Compl. (Doc. 78) ¶ 124.

       In June 2021, Percival, through her counsel’s assistant, emailed Sheriff

 Chronister a presuit notice under § 768.28(6)(a), Florida Statutes. (Doc. 116-5).

 The notice contained Percival’s social security number and date of birth but omitted

 her place of birth. Id. at 3. Percival did not send the notice to the Florida Department

 of Financial Services.

       Percival initiated this action against Leduc, Perera, Brizendine, and Sheriff

 Chronister in his official capacity. After the Court dismissed Percival’s amended

 complaint in part, Order on Mot. to Dismiss (MTD Order) (Doc. 69), Percival filed



                                           10
Case 8:23-cv-01243-KKM-LSG      Document 134     Filed 07/15/25   Page 11 of 60 PageID
                                      1649



 a second amended complaint, Second Am. Compl., and the Sheriff Defendants

 move for summary judgment, see generally MSJ.

  II.   LEGAL STANDARD

        Summary judgment is appropriate if no genuine dispute of material fact exists,

 and the moving party is entitled to judgment as a matter of law. FED. R. CIV. P.

 56(a). A fact is material if it might affect the outcome of the suit under governing

 law. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

        The movant always bears the initial burden of informing the district court of

 the basis for its motion and identifying those parts of the record that demonstrate

 an absence of a genuine issue of material fact. See Clark v. Coats & Clark, Inc., 929

 F.2d 604, 608 (11th Cir. 1991). When that burden is met, the burden shifts to the

 nonmovant to present evidentiary materials (e.g., affidavits, depositions, exhibits,

 etc.) demonstrating that there is a genuine issue of material fact, which precludes

 summary judgment. Id. A moving party is entitled to summary judgment if the

 nonmoving party “fail[s] to make a sufficient showing on an essential element of her

 case with respect to which she has the burden of proof.” Celotex Corp. v. Catrett,

 477 U.S. 317, 323 (1986).



                                          11
Case 8:23-cv-01243-KKM-LSG           Document 134       Filed 07/15/25    Page 12 of 60 PageID
                                           1650



          I review the record evidence as identified by the parties and draw all legitimate

 inferences in the nonmoving party’s favor. See Sconiers v. Lockhart, 946 F.3d 1256,

 1262 (11th Cir. 2020); Reese v. Hebert, 527 F.3d 1253, 1268 (11th Cir. 2008).

 Here, to the extent that the record is disputed or capable of multiple inferences, I

 draw them in favor of the non-movant.

 III.     ANALYSIS

          The Sheriff Defendants move for summary judgment as to all fourteen claims

 against them. See generally MSJ. 2 I first address the claims against the deputies and

 then consider the claims against the Sheriff.

              A. Percival’s Claims against the Deputies

          Percival brings five federal claims and five state claims against the deputies.

              1. Federal Claims

          Percival pleads five federal claims against the deputies in their individual

 capacities. See Second Am. Compl. ¶¶ 127–32 (Count I–Unconstitutional Entry

 into Home); id. ¶¶ 133–38 (Count II–False Imprisonment); id. ¶¶ 139–44 (Count




 2
     Civil theft and conversion claims remain against Leduc. See Second Am. Compl. ¶¶ 215–26.
                                                12
Case 8:23-cv-01243-KKM-LSG              Document 134        Filed 07/15/25      Page 13 of 60 PageID
                                              1651



 III–Excessive Force); id. ¶¶ 145–50 (Count IV–False Arrest); id. ¶¶ 151–58

 (Count V–Malicious Prosecution).

               i. Qualified Immunity

           The deputies argue that they are entitled to qualified immunity for all of

 Percival’s federal claims. See, e.g., MSJ at 16–27. “To receive qualified immunity,

 [a] public official ‘must first prove that he was acting within the scope of his

 discretionary authority when the allegedly wrongful acts occurred.’ ” Vinyard v.

 Wilson, 311 F.3d 1340, 1346 (11th Cir. 2002) (quoting Lee v. Ferraro, 284 F.3d

 1188, 1194 (11th Cir. 2002)). “Once the defendant establishes that he was acting

 within his discretionary authority, the burden shifts to the plaintiff to show that

 qualified immunity is not appropriate.” Lee, 284 F.3d at 1194. 3 “To overcome a

 qualified immunity defense, the plaintiff must make two showings.” Corbitt v.

 Vickers, 929 F.3d 1304, 1311 (11th Cir. 2019). The plaintiff must first show “that

 the defendant violated a constitutional right.” Griffin Indus., Inc. v. Irvin, 496 F.3d

 1189, 1199 (11th Cir. 2007). The plaintiff must then “show that the violation was

 clearly established.” Id. For the second inquiry, the key question “is whether the state




 3
     There is no dispute that the deputies were acting within their discretionary authority.
                                                   13
Case 8:23-cv-01243-KKM-LSG       Document 134     Filed 07/15/25   Page 14 of 60 PageID
                                       1652



 of the law gave the defendants ‘fair warning’ that their alleged conduct was

 unconstitutional.” Vaughan v. Cox, 343 F.3d 1323, 1332 (11th Cir. 2003) (quoting

 Hope v. Pelzer, 536 U.S. 730, 741 (2002)).

       A plaintiff has three options when attempting to prove “that the state of the

 law gives officials fair warning of a clearly established right.” Corbitt, 929 F.3d at

 1312; accord Gilmore v. Ga. Dep’t of Corr., No. 23-10343, --- F.4th ----, 2025

 WL 1911728, at *8 (11th Cir. July 11, 2025) (en banc); T.R. ex rel. Brock v. Lamar

 Cnty. Bd. of Educ., 25 F.4th 877, 883 (11th Cir. 2022). First, she can show that “a

 materially similar case has already been decided.” Mercado v. City of Orlando, 407

 F.3d 1152, 1159 (11th Cir. 2005). To make this showing, a plaintiff is limited to

 “the law as interpreted at the time by the United States Supreme Court, the Eleventh

 Circuit, or the Florida Supreme Court.” Terrell v. Smith, 668 F.3d 1244, 1255 (11th

 Cir. 2012). Second, a plaintiff can show that a constitutional right “was clearly

 established through a ‘broader, clearly established principle [that] should control the

 novel facts [of the] situation.’ ” Id. at 1256 (alterations in the original) (quoting

 Mercado, 407 F.3d at 1159). Third and finally, the plaintiff can “show that [the]

 case fits within the exception of conduct which so obviously violates that constitution

 that prior case law is unnecessary.” Mercado, 407 F.3d at 1159.
                                           14
Case 8:23-cv-01243-KKM-LSG       Document 134     Filed 07/15/25   Page 15 of 60 PageID
                                       1653



           ii. Count I: Unconstitutional Entry

       “With few exceptions,” an officer’s warrantless entry of the home is

 unreasonable and unconstitutional. Kyllo v. United States, 533 U.S. 27, 31 (2001).

 One exception is consent. McClish v. Nugent, 483 F.3d 1231, 1240 (11th Cir.

 2007). Another exception is “exigent circumstances,” such as when an officer enters

 to “break up a violent fight.” Id. at 1240–41.

       Percival claims that the deputies violated the Fourth Amendment when they

 entered her home without a warrant or a warrant exception. Second Am. Compl.

 ¶¶ 127–32. The deputies argue that both Leduc’s consent and exigent circumstances

 justified their warrantless entry. MSJ at 12–16. They also argue that they are entitled

 to qualified immunity. Id. at 16–18. I consider the deputies’ exigency argument first

 and then turn to consent. The deputies’ entry violated the Fourth Amendment and

 clearly established law makes clear that neither exception justifies the warrantless

 entry into Percival’s home.

       In Brigham City v. Stuart, officers entered the home after hearing a fight and

 then witnessing, through the window, a juvenile “strik[ing] one of the adults in the

 face, sending the adult to the sink spitting blood.” 547 U.S. 398, 406 (2006). The

 Supreme Court concluded that “law enforcement officers may enter a home without
                                           15
Case 8:23-cv-01243-KKM-LSG        Document 134      Filed 07/15/25    Page 16 of 60 PageID
                                        1654



 a warrant to render emergency assistance to an injured occupant or to protect an

 occupant from imminent injury.” Id. at 403. Later cases indicate that this

 “emergency aid” exception applies only if officers “have an objectively reasonable

 belief that someone inside is ‘seriously injured or threatened with such injury,’ and is

 in need of immediate aid.” United States v. Timmann, 741 F.3d 1170, 1178 (11th

 Cir. 2013) (quoting Brigham City, 547 U.S. at 403–404). Such circumstances “have

 in common the indicia of an urgent, ongoing emergency, in which officers have

 received emergency reports of an ongoing disturbance, arrived to find a chaotic

 scene, and observed violent behavior, or at least evidence of violent behavior.” Id. at

 1179. “The specific test is not whether the officer actually believed that there was an

 emergency inside the house, but ‘whether there was an objectively reasonable basis

 for believing that medical assistance was needed, or persons were in danger.’ ” United

 States v. Evans, 958 F.3d 1102, 1106 (11th Cir. 2020) (quoting Michigan v. Fisher,

 558 U.S. 45, 49 (2009)).

       The deputies argue that their entry was justified under Brigham City because,

 after Percival’s shove of Leduc, they “had a reasonable, justifiable basis to believe that

 once Leduc entered the . . . home Percival might attack him or, at a minimum, that

 Percival and Leduc would start physically fighting and someone might be seriously
                                            16
Case 8:23-cv-01243-KKM-LSG       Document 134     Filed 07/15/25   Page 17 of 60 PageID
                                       1655



 injured.” MSJ at 15. Percival responds that there was no “imminent risk of serious

 injury to Ms. Percival or Leduc.” Resp. at 16. Percival notes that the shove happened

 more than six minutes before the deputies’ entry into the home and points out that,

 between the shove and entry, the officers allowed Percival and Leduc to speak alone

 on the porch, demonstrating the lack of any “need for the deputies to patrol or save

 them from each other.” Id.

       To overcome the deputies’ qualified immunity defense, Percival must prove

 that the law at the time supplied the deputies with fair warning that an exigency did

 not support their warrantless entry into her home. See Vaughan, 343 F.3d at 1332.

 Percival meets her burden because she shows that “a broader, clearly established

 principle should control the novel facts in this situation.” Mercado, 407 F.3d at 1159.

 At the time of the deputies’ entry into Percival’s home, precedent had long made

 clear that “an officer’s warrantless entry of the home is [ordinarily] unreasonable and

 unconstitutional.” Kyllo, 533 U.S. at 31. It was equally well-established that, for

 “exigent circumstances” to justify warrantless entry, an officer must “have an

 objectively reasonable belief that someone inside is ‘seriously injured or threatened

 with such injury,’ and is in need of immediate aid.” Timmann, 741 F.3d at 1178

 (quoting Brigham City, 547 U.S. at 403–404). Precedent provides that the
                                           17
Case 8:23-cv-01243-KKM-LSG     Document 134     Filed 07/15/25   Page 18 of 60 PageID
                                     1656



 touchstones for this exception are that threat of injury is ongoing, serious, and

 occurring within the home, and “every reasonable officer” would have recognized

 that these touchstones were missing here. Nelson v. Tompkins, 89 F.4th 1289, 1299

 (11th Cir. 2024).

       To justify their entry, the deputies rely on Percival’s shove of Leduc and

 Percival’s behavior in response to Leduc attempting to enter her home. MSJ at 14–

 15; see, e.g., Brizendine Dep. at 55:2–10, 56:7–10, 65:19–24. Precedent provides

 fair warning that these circumstances were not exigent. For one, although

 definitionally a battery, Percival’s touching of Leduc’s chest hardly constitutes

 “violent behavior,” Timmann, 741 F.3d at 1179, nor does it provide a basis to

 conclude that entry into the home was necessary to protect Leduc from “from

 imminent danger,” United States v. Holloway, 290 F.3d 1331, 1337 (11th Cir.

 2002). This case is far afield from Brigham City, where the officers witnessed a

 juvenile wrangle free from some adults, punch another adult in the face causing

 bloody spittle, and then witnessed a brawl ensue inside the house. See 547 U.S. at

 401. The Supreme Court reasoned that an officer need not stand idly by outside

 while these acts of violence transpired inside. From the undisputed evidence in this

 case, no comparable emergency existed. At best, Percival pushed Leduc back while
                                         18
Case 8:23-cv-01243-KKM-LSG      Document 134      Filed 07/15/25   Page 19 of 60 PageID
                                      1657



 standing in her front door entryway, clearly objecting to one thing: Leduc and the

 deputies entering her home. There was no reasonable basis to conclude that a

 warrantless entry was necessary “to protect both Percival and Leduc from imminent

 danger and physical harm.” MSJ at 15.

       To be sure, “[o]fficers do not need ironclad proof of ‘a likely serious, life-

 threatening’ injury to invoke the emergency aid exception.” Fisher, 558 U.S. at 49.

 But even in Fisher, the officers arrived to a “tumultuous scene,” found “signs of a

 recent injury,” and witnessed “violent behavior inside” the home, as Fisher was

 “screaming and throwing things.” Id. at 48. That is not similar to Perera witnessing

 a shove that Leduc “may have been oblivious to.” Leduc Dep. at 56:10. The deputies

 then listened to Percival scream in protest that Leduc did not live there or have any

 property inside her home. See Brizendine Dep. at 35:7–36:16, 38:2–7. Although

 screaming might serve as indicia of an exigent circumstance, see, e.g., Fisher, 558

 U.S. at 48, the deputies do not plausibly explain why Percival’s protests evidence the

 sort of emergency that supports a warrantless entry.

       Of course, the context matters. Here, Percival was screaming about the

 deputies and Leduc not entering her home, for which they had no warrant and Leduc

 had no key. That is quite different than Percival creating a ruckus related to another
                                          19
Case 8:23-cv-01243-KKM-LSG      Document 134      Filed 07/15/25   Page 20 of 60 PageID
                                      1658



 matter that might escalate independent of the very constitutional violation that she

 feared might occur. The logical conclusion of the deputies’ argument is that a

 homeowner’s exercise of her property rights provides a basis for an exception to the

 Fourth Amendment’s warrant requirement. But a homeowner’s protest, without

 more, is insufficient. Cf. United States v. Alexander, 835 F.2d 1406, 1409 n.3 (11th

 Cir. 1988) (“[A] defendant’s refusal to consent to a search cannot establish probable

 cause to search. A contrary rule would vitiate the protections of the Fourth

 Amendment.”).

       For these reasons, the deputies fail to convince that the “exigencies of the

 situation [made] the needs of law enforcement so compelling that the warrantless

 search is objectively reasonable under the Fourth Amendment.” Mincey v. Arizona,

 437 U.S. 385, 394 (1978) (quotation marks and citation omitted). Although the

 possibility of some altercation existed if Leduc entered Percival’s home based on

 Percival’s clearly agitated demeanor, the events leading up to the deputies’ entry

 provided no “objectively reasonable belief” that Leduc and Percival were in imminent

 need of protection from serious harm. The shove, if it could be called that, occurred

 several minutes before the entry into the home. Thus, at the time of entering, the

 officers did not go into the home to disrupt an ongoing fight or assault, nor did they
                                          20
Case 8:23-cv-01243-KKM-LSG       Document 134     Filed 07/15/25   Page 21 of 60 PageID
                                       1659



 observe Leduc or Percival suffering physical harm. These facts clearly fail the exigent

 circumstances exception to warrantless entry.

         The deputies also fail to convince that binding precedent on the matter is

 anything other than “firm” and “bright.” Kyllo, 533 U.S. at 40. The “unlawfulness”

 of the deputies’ entry was “apparent” in “the light of preexisting law,” Anderson v.

 Creighton, 483 U.S. 635, 640 (1987), as precedent put the deputies on “notice” that

 exigent circumstances did not support their warrantless entry, Mercado, 407 F.3d at

 1159.

         The same is true concerning the consent exception. The deputies contend that

 they reasonably believed that Leduc “possessed sufficient authority to consent to

 their entry into the home.” MSJ at 13. Although valid consent is a recognized basis

 for a warrantless search, United States v. Watkins, 760 F.3d 1271, 1279 (11th Cir.

 2014), the Supreme Court has already ruled, in a case much like this, that a

 “physically present inhabitant’s express refusal of consent to a police search” takes

 precedence over “the consent of a fellow occupant.” Georgia v. Randolph, 547 U.S.

 103, 122–23 (2006). As I have already concluded, Randolph put the deputies “on

 notice that relying on Leduc’s consent to justify warrantless entry in the face of



                                           21
Case 8:23-cv-01243-KKM-LSG       Document 134      Filed 07/15/25    Page 22 of 60 PageID
                                       1660



 Percival’s objection violated the Fourth Amendment.” MTD Order at 26. It follows

 that the deputies are not entitled to qualified immunity.

       For these reasons, viewing the record in the light most favorable to Percival,

 the deputies violated clearly established law by entering her home without a warrant.

 Cf. Bashir v. Rockdale County, 445 F.3d 1323, 1331 (11th Cir. 2006) (“A

 reasonable law enforcement officer faced with these circumstances would have

 known he could not enter the home and arrest [the plaintiff] without a warrant,

 exigent circumstances, or consent.”). Accordingly, I deny summary judgment on

 Count I.

            iii. Count II: False Imprisonment

       “A false imprisonment claim under § 1983 requires meeting the common law

 elements of false imprisonment and establishing that the imprisonment was a due

 process violation under the Fourteenth Amendment.” Helm v. Rainbow City, 989

 F.3d 1265, 1278 (11th Cir. 2021). “The elements of common law false

 imprisonment are an intent to confine, an act resulting in confinement, and the

 victim’s awareness of confinement.” Campbell v. Johnson, 586 F.3d 835, 840 (11th

 Cir. 2009) (per curiam). To establish a due process violation, “a plaintiff must show

 that the officer acted with deliberate indifference, i.e., demonstrating that the officer
                                            22
Case 8:23-cv-01243-KKM-LSG       Document 134      Filed 07/15/25   Page 23 of 60 PageID
                                       1661



 ‘had subjective knowledge of a risk of serious harm and disregarded that risk by

 actions beyond mere negligence.’ ” Helm, 989 F.3d at 1278–79 (quoting Campbell,

 586 F.3d at 840).

       “If an officer has arguable probable cause to seize an individual, that finding

 may defeat a claim of deliberate indifference.” Id. at 1279. An officer has probable

 cause if “a reasonable officer could conclude that there was a substantial chance of

 criminal activity.” Washington v. Howard, 25 F.4th 891, 902 (11th Cir. 2022)

 (omission adopted) (quoting District of Colombia v. Wesby, 583 U.S. 48, 61

 (2018)). “An officer has arguable probable cause if ‘a reasonable officer, looking at

 the entire legal landscape at the time of the arrests, could have interpreted the law as

 permitting the arrests.’ ” Garcia v. Casey, 75 F.4th 1176, 1186 (11th Cir. 2023)

 (emphasis omitted) (quoting Wesby, 583 U.S. at 61).

       Percival’s false imprisonment claim is predicated on the allegation that the

 deputies “unlawfully, intentionally, and unreasonably restrained Ms. Percival to the

 inside of her home and deprived Ms. Percival of the right to leave.” Second Am.

 Compl. ¶ 134. The deputies argue that they are entitled to qualified immunity

 because they had “probable cause to arrest Percival on June 2, 2020 for the crime of

 battery (simple and domestic), and for the crime of misuse of the 911 system.” MSJ
                                           23
Case 8:23-cv-01243-KKM-LSG       Document 134     Filed 07/15/25   Page 24 of 60 PageID
                                       1662



 at 19. Percival responds that the deputies detained her by remaining on her property

 after she asked them to leave and that, because this happened before the alleged

 battery, the deputies lacked probable cause. Resp. at 17, 21.

       The deputies are entitled to summary judgment. To start, Percival fails to

 demonstrate that the deputies were on notice that, by remaining on her property

 during an ongoing domestic dispute, they were detaining her in violation of the

 Constitution. See Ashcroft v. al-Kidd, 563 U.S. 731, 742 (2011) (asking “whether

 the violative nature of particular conduct is clearly established”). Percival relies on

 Morris v. Town of Lexington, where the Eleventh Circuit said that officers

 “effectively detained” the plaintiff when they “stood in the doorway and refused to

 leave when asked to leave.” 748 F.3d 1316, 1325 (11th Cir. 2014). She also cites

 Thornton v. City of Macon, where the Eleventh Circuit concluded that the officers’

 “continued presence” on the plaintiff’s front porch was “not pursuant to their official

 duties and was outside of their authority” after the plaintiff asked them to leave. 132

 F.3d 1395, 1399 (11th Cir. 1998) (per curiam). Neither case puts the deputies on

 notice that they detained Percival by standing in her front yard and on her porch

 while she argued with Leduc.



                                           24
Case 8:23-cv-01243-KKM-LSG      Document 134     Filed 07/15/25   Page 25 of 60 PageID
                                      1663



       By the time the deputies detained Percival—either when they remained in her

 home after Leduc left or when they arrested her—they had probable cause to do so.

 “Whether an officer possesses probable cause or arguable probable cause depends on

 the elements of the alleged crime and the operative fact pattern.” Brown v. City of

 Huntsville, 608 F.3d 724, 735 (11th Cir. 2010). In Florida, the offense of battery

 occurs when a person “[a]ctually and intentionally touches or strikes another person

 against the will of the other” or “[i]ntentionally causes bodily harm to another

 person.” § 784.03(1)(a), Fla. Stat. “As the statute’s plain text indicates,” “any

 unwanted ‘touch[]’ will suffice.” Huebner v. Bradshaw, 935 F.3d 1183, 1188 (11th

 Cir. 2019); see State v. Hearns, 961 So. 2d 211, 218–19 (Fla. 2007) (“Existing case

 law makes it clear that any intentional touching, no matter how slight, is sufficient

 to constitute a simple battery.”). Thus, battery “may be committed with only nominal

 contact.” Hearns, 961 So. 2d at 219.

       Percival shoved Leduc before the deputies entered the home. See (Doc. 116-

 6) at 5:41–45 (video footage of the shove). Although only “nominal contact,”

 Hearns, 961 So. 2d, it was “objectively reasonable under the totality of the

 circumstances” for Perera to conclude that Percival committed simple battery when

 he witnessed her touch Leduc, Bailey v. Bd. of Cnty. Comm’rs of Alachua Cnty.,
                                          25
Case 8:23-cv-01243-KKM-LSG          Document 134       Filed 07/15/25     Page 26 of 60 PageID
                                          1664



 956 F.2d 1112, 1119 (11th Cir. 1992), and for Brizendine to reach the same

 conclusion based on what Perera told him when he arrived on the scene, see Terrell,

 668 F.3d at 1252 (“[B]oth the United States Supreme Court and the Florida

 Supreme Court have allowed the collective knowledge of the investigating officers

 to be imputed to each participating officer.”).4 Because the deputies’ actions were

 supported by probable cause, Percival cannot, as a matter of law, demonstrate that

 the deputies acted with deliberate indifference. See May v. City of Nahunta, 846

 F.3d 1320, 1329 (11th Cir. 2017).

        In response, Percival first argues that she “did not intentionally touch Leduc”

 against his will but instead “Leduc walked into Ms. Percival in an attempt to

 bulldoze his way through her and enter her home.” Resp. at 21. The video footage,

 though, demonstrates that a reasonable officer at the scene, here Perera, could have

 concluded that Percival intentionally touched Leduc against his will and thus

 committed simple battery. See Washington, 25 F.4th at 902. This conclusion holds

 even though Leduc later stated that any physical contact during the incident

 “occurred with [his] consent.” (Doc. 129-2) at 4; cf. Harris v. Hixon, 102 F.4th

 4
   As a result of this conclusion, I need not consider whether the deputies had probable cause to
 arrest Percival for misuse of the 911 system in violation of § 365.172(14), Florida Statutes, or
 resisting an officer without violence, in violation of § 843.02, Florida Statutes.
                                               26
Case 8:23-cv-01243-KKM-LSG       Document 134     Filed 07/15/25   Page 27 of 60 PageID
                                       1665



 1120, 1126 (11th Cir. 2024) (“The charges against Harris were ultimately dismissed,

 but that does not negate the existence of probable cause at the time of his arrest.”).

       Percival next argues that “no reasonable officer could determine there was

 probable cause given” that she acted in self-defense. Resp. at 21. For example,

 Florida law provides that a person in “a dwelling or residence in which the person

 has a right to be,” “has the right to stand his or her ground and use or threaten to

 use . . . [n]ondeadly force against another when and to the extent that the person

 reasonably believes that such conduct is necessary to defend himself or herself or

 another against the other’s imminent use of unlawful force.” § 776.013(1), Fla. Stat.;

 see id. § 776.012 (defense of person).

       Because Florida law immunizes from arrest, detention, and prosecution, a

 “person who uses or threatens to use force” as permitted in §776.012 and § 776.013,

 an officer “may not arrest the person for using or threatening to use force unless it

 determines that there is probable cause that the force that was used or threatened

 was unlawful.” Id. § 776.032, (1)–(2). Percival argues that, reading the record in her

 favor, the deputies knew that Leduc did not live at the home, and thus “every

 reasonable officer would arrest Leduc for committing a forcible felony, burglary



                                           27
Case 8:23-cv-01243-KKM-LSG            Document 134         Filed 07/15/25      Page 28 of 60 PageID
                                            1666



 battery, against Ms. Percival and find that Ms. Percival did not commit a battery.”

 Resp. at 21.

        Percival’s self-defense argument does not negate a probable cause finding. For

 one, even when viewing the record in the light most favorable to Percival, it remains

 the case that the deputies received conflicting information as to whether Leduc

 resided at the home. See Perera Dep. at 34:17–20, 47:19–21 (testifying that Leduc

 told him he lived at the home, but that Percival told him the opposite); Brizendine

 Dep. at 32:11–24 (same). Percival does not cite record evidence supporting the

 assertion that “the deputies knew Leduc did not live at her home.” Resp. at 21.5 Even

 if, as a matter of fact, Percival accurately represented that Leduc did not reside in

 her home, the deputies’ actions are judged based on “the facts and circumstances

 within the [their] knowledge” at the time of the arrest, not ex post factual

 determinations. Von Stein v. Brescher, 904 F.2d 572, 578 (11th Cir. 1990). The

 deputies were not “required to sift through conflicting evidence or resolve issues of

 credibility, so long as the totality of the circumstances present[ed] a sufficient basis


 5
  Although Percival makes much out of the fact that Leduc’s driver’s license did not list her home
 address, Resp. at 4, 7, Perera plausibly explains why the different address was “not an end all be all
 decision maker,” Perera Dep. at 35:16–17; see id. at 35:14–16 (“It gave me pause for a moment,
 but there’s plenty of people who don’t update their addresses on their licenses.”).

                                                  28
Case 8:23-cv-01243-KKM-LSG        Document 134      Filed 07/15/25    Page 29 of 60 PageID
                                        1667



 for believing that an offense ha[d] been committed.” Huebner, 935 F.3d at 1188

 (alterations in the original) (quoting Dahl v. Holley, 312 F.3d 1228, 1234 (11th Cir.

 2002)). Indeed, the Florida Supreme Court has concluded that, “in most potential

 self-defense cases,” a post-arrest immunity determination “will be the best that we

 can do—procedurally—considering the well-established body of law detailing the

 responsibilities of law enforcement officers, prosecutors, and judges,” Kumar v.

 Patel, 227 So. 3d 557, 560 (Fla. 2017). This case is no exception. In the light of the

 conflicting information the deputies received, the deputies could have concluded

 that Percival’s shove was not in response to “imminent use of unlawful force,”

 §§ 776.012(1), 776.013(1), Fla. Stat.

       Percival’s final probable cause argument is predicated on K.W.S. v. State, 924

 So. 2d 80 (Fla. 5th DCA 2006). There, the juvenile defendant “attempted to defend

 his younger sister who was involved in a fracas with a larger, older girl” by separating

 the two young women. Id. at 81. The use of force “was minimal, and “could well

 have been accidental.” Id. On these facts, the defendant “established a prima facie

 case of defense of another,” and the state failed to rebut it, so the Fifth District Court

 of Appeal held that the defendant’s motion for judgment of dismissal should have

 been granted. Id. at 81–82.
                                            29
Case 8:23-cv-01243-KKM-LSG      Document 134     Filed 07/15/25   Page 30 of 60 PageID
                                      1668



         K.W.S. does not inform the probable cause determination here. Most

 importantly, K.W.S. arises in an entirely different posture. In adjudicating a motion

 for judgment of dismissal, the question is whether the state put forward enough

 evidence to “disprove the defense of self-defense beyond a reasonable doubt.” E.L.F.

 v. State, 33 So. 3d 760, 763 (Fla. 4th DCA 2010). Probable cause, on the other

 hand, “does not require anything close to conclusive proof or proof beyond a

 reasonable doubt that a crime was in fact committed, or even a finding made by a

 preponderance of the evidence.” Paez v. Mulvey, 915 F.3d 1276, 1286 (11th Cir.

 2019). Therefore, K.W.S. does not provide much insight into the question at issue

 here.

         In sum, because the deputies had probable cause to believe that Percival

 battered Leduc, the deputies are entitled to summary judgment on Count II. See

 May, 846 F.3d at 1329.

            iv. Count III: Use of Excessive Force

         Eleventh Circuit precedent distinguishes between “genuine” and “artificial”

 excessive force claims. A “genuine” excessive force claim “is a claim that—

 irrespective of an officer’s probable cause to make an arrest—the officer used

 excessive force.” Richmond v. Badia, 47 F.4th 1172, 1180 (11th Cir. 2022). An
                                          30
Case 8:23-cv-01243-KKM-LSG       Document 134      Filed 07/15/25    Page 31 of 60 PageID
                                       1669



 “artificial” excessive force claim, or a claim “that force was excessive merely because

 another Fourth Amendment violation occurred,” is “subsumed in the illegal stop or

 arrest claim and is not a discrete excessive force claim.” Id. (quoting Jackson v. Sauls,

 206 F.3d 1156, 1171 (11th Cir. 2000)).

        A “genuine” excessive force claim “in the context of an arrest or investigatory

 stop [is] judged under the Fourth Amendment’s objective reasonableness standard.”

 Id. at 1182. “In reviewing the use of force, courts balance the nature and quality of

 the intrusion on the individual against the government justification for using force,”

 “consider[ing] (1) the severity of the crime at issue, (2) whether the suspect poses an

 immediate threat to the safety of the officers or others, and (3) whether the suspect

 is actively resisting arrest or attempting to evade arrest by flight.” Id. (quotations

 omitted). Courts “also consider the justification for the application of force, the

 relationship between the justification and the amount of force used, and the extent

 of any injury inflicted.” Id.

        Percival alleges that the deputies’ use of force in arresting her was excessive

 because: (1) she was not resisting; (2) she did not pose any threat; and (3) there was

 no probable cause to arrest her. Second. Am. Compl. ¶¶ 140–41. The deputies move



                                            31
Case 8:23-cv-01243-KKM-LSG       Document 134      Filed 07/15/25   Page 32 of 60 PageID
                                       1670



 for summary judgment on the basis that her excessive force claim is subsumed by her

 false arrest claim and because they are entitled to qualified immunity. MSJ at 22–27.

       Percival’s claim that the force was excessive because the deputies lacked

 probable cause to arrest her is foreclosed by Eleventh Circuit precedent. See

 Richmond, 47 F.4th at 1180. Therefore, Percival’s arguments about a lack of

 probable cause are of no help in supporting her excessive force claim.

       But Percival also mounts a “genuine excessive force claim,” which “is not

 resolved by the existence of probable cause.” Id. This claim is predicated on Percival’s

 testimony that the deputies, without any justification, swept her leg out from under

 her, slammed her to the ground, and placed their legs and knees into her right

 shoulder and neck, which caused loss of consciousness as well as mental and physical

 injuries. Percival Aff. ¶¶ 40–57, Percival Dep. at 95:18–98:12, 117:1–119:25.

       Because the deputies dispute that account, this is a factual dispute reserved for

 the jury. Crediting Percival’s account, a reasonable jury could find that the deputies

 used excessive force in violation of the Fourth Amendment. First, the deputies “had

 no law enforcement justification” for sweeping Percival’s leg out from under her,

 slamming her to the ground, and applying force on her back and neck. Richmond,

 47 F.4th at 1183. Percival states that the force resulted from her request that the
                                           32
Case 8:23-cv-01243-KKM-LSG       Document 134     Filed 07/15/25   Page 33 of 60 PageID
                                       1671



 deputies leave her home and denies charging at the deputies or resisting arrest.

 Percival Dep. at 97:5–98:3. To be sure, the deputies had probable cause to arrest

 Percival, and an arresting officer “may use de minimis force in arresting a suspect,

 even without resistance.” Richmond, 47 F.4th at 1183. But on Percival’s telling, the

 deputies’ force was not de minimis, and the use of force was untethered to “any law

 enforcement need to restrain or arrest [her].” Id.

       Second, Percival’s potential crimes were both misdemeanors of minor severity,

 see §§ 365.172(14) (misuse of 911 system), 784.03(1)(a) (simple battery), Fla. Stat.,

 and Percival “neither posed a threat nor was attempting to flee [her home],”

 Richmond, 47 F.4th at 1182–83. The Eleventh Circuit has “repeatedly held that less

 force is appropriate when the crime at issue is a misdemeanor, and the suspect does

 not pose a threat or attempt to flee.” Id. According to Percival, she never charged or

 acted aggressively towards anyone, so she was not a threat.

       Third, Percival claims that she never “refuse[d] to obey any lawful

 commands.” Richmond, 47 F.4th at 1183; see Percival Dep. 94:19–23, 97:5–99:1.

 If believed by the jury, this is another consideration that cuts in favor of Percival’s

 excessive force claim. See Fils v. City of Aventura, 647 F.3d 1272, 1289 (11th Cir.

 2011).
                                           33
Case 8:23-cv-01243-KKM-LSG       Document 134      Filed 07/15/25    Page 34 of 60 PageID
                                       1672



       Putting it all together, if a jury believes Percival’s account, the deputies used

 “unprovoked force against a non-hostile and non-violent suspect who [had] not

 disobeyed instructions.” Id. A reasonable jury could therefore find that the deputies

 violated Percival’s Fourth Amendment rights. See id.

       The deputies’ conduct, taking the record in the light most favorable to

 Percival, also violated clearly established law. Although the Supreme Court has

 stressed that specificity is “especially important” in excessive force cases, Mullenix v.

 Luna, 577 U.S. 7, 11 (2015) (per curiam), the Eleventh Circuit has concluded, that

 its caselaw enumerates a “broader, clearly established principle” that provides fair

 notice to officers in circumstances much like this one, Richmond, 47 F.4th at 1184

 (quoting Mercado, 407 F.3d at 1159). For example, the Eleventh Circuit has denied

 qualified immunity “when the police have unnecessarily thrown non-resisting,

 unhandcuffed suspects on the ground.” Id. (collecting cases). The Eleventh Circuit,

 in decisions “dat[ing] to at least 2000,” Patel v. City of Madison, 959 F.3d 1330,

 1343 (11th Cir. 2020), has “repeatedly ruled that a police officer violates the Fourth

 Amendment, and is denied qualified immunity, if he or she uses gratuitous and

 excessive force against a suspect who is under control, not resisting, and obeying

 commands,” Saunders v. Duke, 766 F.3d 1262, 1265 (11th Cir. 2014). The Eleventh
                                            34
Case 8:23-cv-01243-KKM-LSG       Document 134      Filed 07/15/25   Page 35 of 60 PageID
                                       1673



 Circuit has also held “that employing gratuitous force against a docile suspect can

 meet the ‘obvious clarity’ test.” Patel, 959 F.3d at 1343 (collecting cases); see id. at

 1333–34 (concluding that “no reasonable officer could have thought that sweeping

 [the plaintiff’s] legs out from under him and throwing him to the ground headfirst

 was a reasonable use of force” when the plaintiff “was somewhat frail and was not

 resisting or attempting to flee”).

       Following these cases, if a jury credits Percival’s version of events, the law

 clearly forbade the deputies’ actions.

       The deputies respond that, under their version of the facts, they did not

 engage in excessive force when arresting Percival. MSJ at 24–25. Although a jury

 may believe the deputies, in adjudicating the deputies’ motion for summary

 judgment, I must view all facts in the light most favorable to Percival. See Sconiers,

 946 F.3d at 1262. For the above reasons, a reasonable jury could conclude based on

 Percival’s testimony that the deputies used excessive force.

       The deputies also argue that the “fact that nurses at the jail observed no

 physical injury on Percival’s body, and determined she did not require any medical

 attention, ‘reflects that minimal force was used’ in effectuating her arrest.” MSJ at

 26 (quoting Gold v. City of Miami, 121 F. 3d 1442, 1446 (11th Cir. 1997)). The
                                           35
Case 8:23-cv-01243-KKM-LSG          Document 134       Filed 07/15/25     Page 36 of 60 PageID
                                          1674



 deputies cite a physical assessment completed when Percival arrived at jail after her

 arrest. (Doc. 116-8). According to the assessment, Percival claimed “[r]ight shoulder

 and hip pain 07/10 since arrest.” Id. at 6. But the nurse did not observe any new

 injuries or visible injuries, noted no “trauma to head, face, neck,” and observed full

 range of motion in Percival’s shoulder and neck. Id. at 4–6.

        Although the Eleventh Circuit considers “the extent of the injury inflicted” in

 evaluating excessive force claims, the Eleventh Circuit has rejected the idea that “the

 absence of ‘some arbitrary quantity of injury’ ” automatically immunizes an officer

 from an excessive force claim. Saunders, 766 F.3d at 1270 (quoting Wilkins v.

 Gaddy, 559 U.S. 34, 39 (2010)). To the contrary, “the nature of the force” remains

 the “core judicial inquiry.” Id. (cleaned up) (quoting Wilkins, 559 U.S. at 39). For

 that reason, the Eleventh Circuit has concluded “that a § 1983 plaintiff alleging

 excessive use of force is entitled to nominal damages even if he fails to present

 evidence of compensable injury.” Slicker v. Jackson, 215 F.3d 1225, 1231–32 (11th

 Cir. 2000). In any case, Percival attributes her injuries to her arrest. See Percival

 Dep. at 128:10–22. 6

 6
   In their reply, the Sheriff Defendants argue that they are entitled to summary judgment on
 causation and damages because Percival fails to present any expert testimony on causation. Reply
 (Doc. 132) at 5. Because a “party cannot raise new arguments in support of summary judgment for
                                               36
Case 8:23-cv-01243-KKM-LSG           Document 134        Filed 07/15/25      Page 37 of 60 PageID
                                           1675



        For these reasons, the deputies are not entitled to summary judgment on

 Count III.

            v. Count IV: False Arrest

        “To succeed on a false-arrest claim, a plaintiff must establish (1) a lack of

 probable cause and (2) an arrest.” Brooks v. Miller, 78 F.4th 1267, 1281 (11th Cir.

 2023). Percival argues that the deputies violated the Fourth Amendment when they

 arrested her without a warrant and probable cause. Second Am. Compl. ¶¶ 145–50.

 Because the deputies had probable cause to arrest Percival, supra at 25–30, they are

 entitled to qualified immunity and summary judgment on Count IV.

            vi. Count V: Malicious Prosecution

        To prevail on her malicious prosecution claim under § 1983, Percival must

 prove the common law elements of malicious prosecution,7 and “that the [deputies]

 violated [her] Fourth Amendment right to be free from seizures pursuant to legal



 the first time in a reply brief,” Starbuck v. R.J. Reynolds Tobacco Co., 349 F. Supp. 3d 1223, 1229
 (M.D. Fla. 2018), I do not consider this argument.
 7
   “The constituent elements of the common law tort of malicious prosecution include: (1) a
 criminal prosecution instituted or continued by the present defendant; (2) with malice and without
 probable cause; (3) that terminated in the plaintiff accused’s favor; and (4) caused damage to the
 plaintiff accused.” Butler v. Smith, 85 F.4th 1102, 1111 (11th Cir. 2023) (alterations omitted)
 (quotations omitted).

                                                 37
Case 8:23-cv-01243-KKM-LSG            Document 134        Filed 07/15/25      Page 38 of 60 PageID
                                            1676



 process.” Luke v. Gulley (Luke II), 50 F.4th 90, 95 (11th Cir. 2022) (per curiam)

 (quoting Luke v. Gulley (Luke I), 975 F.3d 1140, 1143 (11th Cir. 2020)). With

 respect to the Fourth Amendment, Percival must provide “proof that ‘the legal

 process justifying [her] seizure was constitutionally infirm’ and that ‘[her] seizure

 would not otherwise be justified without legal process.’ ” Id. (quoting Williams v.

 Aguirre, 965 F.3d 1147, 1165 (11th Cir. 2020)).

        Although somewhat unclear, it appears that Percival relies on her warrantless

 arrest as the predicate seizure for her malicious prosecution claim. This is the only

 seizure she identifies in her complaint. See Second Am. Compl. ¶¶ 117–24. To the

 extent Percival can rely on this warrantless seizure in bringing a malicious

 prosecution claim,8 the seizure was supported by probable cause and thus the

 deputies are entitled to qualified immunity and summary judgment on Count V. See

 supra at 25–30; Grider v. City of Auburn, 618 F.3d 1240, 1257 (11th Cir. 2010).


 8
   Under Eleventh Circuit precedent, warrantless seizures do not provide a basis for a malicious
 prosecution claim, which requires a seizure ‘pursuant to legal process.’ ” Williams, 965 F.3d at 1158
 (quoting Black v. Wigington, 811 F.3d 1259, 1267 (11th Cir. 2016)). This difference between
 false arrest and malicious prosecution claims affects how the Eleventh Circuit views the factual
 record for the purposes of assessing probable cause. See Sylvester v. Fulton Cnty. Jail, 94 F.4th
 1324, 1330 (11th Cir. 2024). The parties did not recognize this difference in their briefing. In any
 case, because Percival apparently predicates both her false arrest and malicious prosecution claims
 on the same seizure, probable cause for that seizure justifies granting the deputies summary
 judgment on Count V.

                                                 38
Case 8:23-cv-01243-KKM-LSG         Document 134       Filed 07/15/25    Page 39 of 60 PageID
                                         1677



           2. State Claims

        Percival pleads five state law claims against the deputies in their individual

 capacities. See Second Am. Compl. ¶¶ 159–66 (Count VI–Malicious Prosecution);

 id. ¶¶ 167–71 (Count VII–Battery); id. ¶¶ 177–84 (Count IX–Trespass to Land);

 id. ¶¶ 191–97 (Count XI–False Imprisonment/Arrest); id. ¶¶ 203–08 (Count

 XIII–Illegal Search of Home).

           i. Statutory Immunity

        The deputies argue that they are immune from all five state law claims. MSJ

 at 16–18, 19, 23–30. This argument is governed by § 768.28(9)(a), Florida Statutes,9

 which immunizes the deputies unless they “acted in bad faith or with malicious

 purpose or in a manner exhibiting wanton and willful disregard of human rights,

 safety, or property.”

        Section 768.28 also contains a presuit notice requirement. See § 768.28(6)(a),

 Fla. Stat. Although the deputies argue that they are entitled to summary judgment

 as to all of Percival’s state law claims because she failed to comply with the notice

 requirement, MSJ at 11, § 768.28(6)(a)’s notice requirement does not apply to

 9
   Qualified immunity does not serve as a defense to claims governed by Florida law. See
 D’Aguanno v. Gallagher, 50 F.3d 877, 879 (11th Cir. 1995) (“[Q]ualified immunity is a defense
 only to federal claims.”).
                                              39
Case 8:23-cv-01243-KKM-LSG           Document 134         Filed 07/15/25     Page 40 of 60 PageID
                                           1678



 claims against officers in their individual capacities, see Lundgren v. McDaniel, 814

 F.2d 600, 605 (11th Cir. 1987); Medberry v. McCallister, 937 So. 2d 808, 813 (Fla.

 1st DCA 2006). Therefore, the deputies are not entitled to summary judgment on

 this basis.

            ii. Count VI: Malicious Prosecution

        Percival’s first state law claim is for malicious prosecution. Second Am.

 Compl. ¶¶ 159–66. In Florida, one element of a malicious prosecution claim is that

 “there was an absence of probable cause for the original proceeding.” MacAlister v.

 Bevis Const., Inc., 164 So. 3d 773, 777 (Fla. 2d DCA 2015) (quoting Olson v.

 Johnson, 961 So. 2d 356, 359 (Fla. 2d DCA 2007)).

        “[T]he standard for determining the existence of probable cause is the same

 under both Florida and federal law.” Rankin v. Evans, 133 F.3d 1425, 1433 (11th

 Cir. 1998). Because the deputies had probable cause to arrest Percival, see supra at

 25–30, they are entitled to summary judgment on Count VI. See, e.g., Daniel v. Vill.

 of Royal Palm Beach, 889 So. 2d 988, 990 (Fla. 4th DCA 2004). 10




 10
    This assumes, of course, that Percival could bring this claim against the deputies under
 § 768.28(9)(a), Florida Statutes. I need not pass on that question because Percival’s claim fails on
 the merits.
                                                 40
Case 8:23-cv-01243-KKM-LSG       Document 134     Filed 07/15/25   Page 41 of 60 PageID
                                       1679



           iii. Count VII: Battery

       Under Florida law, “[b]attery consists of the infliction of a harmful or

 offensive contact upon another with the intent to cause such contact or the

 apprehension that such contact is imminent.” Quilling v. Price, 894 So. 2d 1061,

 1063 (Fla. 5th DCA 2005). Percival’s claim is predicated on the same conduct as her

 federal excessive force claim: the deputies allegedly sweeping Percival’s leg out from

 under her, slamming her to the ground, and using their knees to pin her against the

 ground. Second Am. Compl. ¶ 168. The deputies argue that they are entitled to

 summary judgment because: (1) “an alleged battery committed incident to arrest

 does not give rise to an independent tort in Florida”; (2) they did not employ

 excessive force; and (3) they did not act “in bad faith or with malicious purpose or in

 a manner exhibiting wanton and willful disregard of human rights, safety, or

 property,” § 768.28(9)(a). MSJ at 27–29. The deputies are not entitled to summary

 judgment.

       First, although “ordinary incidents of the arrest . . . do not give rise” to a

 battery claim, Lester v. City of Tavares, 603 So. 2d 18, 19–20 (Fla. 5th DCA 1992),

 a “police officer may be liable for the use of excessive force (i.e., battery) while

 effectuating a lawful arrest,” Kimbrel v. Clark, 385 So. 3d 1124, 1128 (Fla. 1st DCA
                                           41
Case 8:23-cv-01243-KKM-LSG        Document 134       Filed 07/15/25    Page 42 of 60 PageID
                                        1680



 2024). Second, even though Florida law afforded the deputies “a presumption of

 good faith . . . as to the use of force applied during a lawful arrest,” id., I have already

 explained why, when viewing the facts in the light most favorable to Percival, a jury

 could conclude that “the amount of force used was [un]reasonable under the

 circumstances,” City of Miami v. Sanders, 672 So. 2d 46, 47 (Fla. 3d DCA 1996);

 see supra at 32–37. Third, a reasonable jury could conclude that the deputies, in

 battering Percival, “acted in bad faith or with malicious purpose or in a manner

 exhibiting wanton and willful disregard of human rights, safety, or property.”

 § 768.28(9)(a), Fla. Stat.; see Gualtieri v. Bogle, 343 So. 3d 1267, 1273–74 (Fla. 2d

 DCA 2022). A jury must decide these contested questions of fact based on the

 credibility of the witnesses. Therefore, the deputies are not entitled to summary

 judgment on Count VII.

           iv. Count IX: Trespass to Land

        Under Florida law, “[t]respass to real property is the unauthorized entry onto

 another’s real property.” Daniel v. Morris, 181 So. 3d 1195, 1199 (Fla. 5th DCA

 2015). “Consent is an absolute defense to an action for trespass.” Pearson v. Ford

 Motor Co., 694 So. 2d 61, 69 (Fla. 1st DCA 1997). Also, a police officer has the

 “right” to “enter upon private property” when “sufficient exigent circumstances”
                                             42
Case 8:23-cv-01243-KKM-LSG       Document 134     Filed 07/15/25   Page 43 of 60 PageID
                                       1681



 exist. Guin v. City of Riviera Beach, 388 So. 2d 604, 606 (Fla. 4th DCA 1980); see

 Potts v. Johnson, 654 So. 2d 596, 599 (Fla. 3d DCA 1995). Whether the facts are

 sufficient “to constitute exigent circumstances” is a legal question. Guin, 388 So. 2d

 at 606.

       Percival argues that the deputies trespassed when they intentionally and

 unlawfully entered her home without consent. Second Am. Compl. ¶ 178. She also

 argues that the deputies “acted in bad faith, with willful and wanton conduct, and

 with malicious purpose when they chose to enter Ms. Percival’s home, physically

 abuse her, and arrest Ms. Percival despite knowing they had no legal basis to do so.”

 Id. ¶ 182. The deputies respond that: (1) they are entitled to immunity under

 § 768.28(9)(a); (2) Leduc consented to their entry of the home; and (3) an

 immediate need for police assistance justified their entry. MSJ at 12–16, 30–31, see

 id. at 28–29.

       In the light of the disputed facts, the deputies are not entitled to immunity

 under § 768.28(9)(a). If a jury believes Percival that the deputies entered her home,

 and battered her without justification, then the jury could find that the deputies

 trespassed “in bad faith or with malicious purpose or in a manner exhibiting wanton

 and willful disregard of human rights, safety, or property.” § 768.28(9)(a), Fla. Stat.
                                           43
Case 8:23-cv-01243-KKM-LSG       Document 134     Filed 07/15/25   Page 44 of 60 PageID
                                       1682



       As for consent, the parties appear to assume that the Fourth Amendment

 shapes Florida’s standard. See MSJ at 12–14, 30–31; Resp. at 14–15, 29. Because

 the parties have not briefed whether a different standard applies under Florida tort

 law, I assume without deciding that cases interpreting the Fourth Amendment are

 informative in determining whether the deputies entered the home with consent.

 See MTD Order at 19 (making the same assumption). Applying Fourth

 Amendment principles, the deputies are not entitled to summary judgment.

       For reasons I have already explained, after Randolph, Leduc’s consent does

 not justify entry. See supra at 21–22. To be sure, in dicta the Supreme Court

 distinguished between entry for the purposes of “trespass” law and entry for the

 purposes of “search[ing] for evidence,” id. at 118, but the deputies do not point to a

 source of Florida law that rejects Randolph’s holding in this context.

       In any case, even if Randolph does not apply, the deputies must show that

 Leduc’s consent authorized their entry. A “third party who possesses common

 authority over the premises” may consent to its search. Illinois v. Rodriguez, 497

 U.S. 177, 179 (1990). Common authority is “not to be implied from the mere

 property interest a third party has in the property,” but “rests rather on mutual use

 of the property by persons generally having joint access or control for most purposes.”
                                           44
Case 8:23-cv-01243-KKM-LSG       Document 134      Filed 07/15/25   Page 45 of 60 PageID
                                       1683



 United States v. Matlock, 415 U.S. 164, 171 n.7 (1974). Factually deficient consent

 can justify entry, but law enforcement must reasonably believe that the consenting

 party is “a resident of the premises.” Rodriguez, 497 U.S. at 186. This zone of

 reasonable belief is not unlimited: “Even when the invitation is accompanied by an

 explicit assertion that the person lives there, the surrounding circumstances could

 conceivably be such that a reasonable person would doubt its truth and not act upon

 it without further inquiry.” Id. at 188. The “determination of consent to enter must

 be judged against an objective standard: would the facts available to the officer at the

 moment warrant a man of reasonable caution in the belief that the consenting party

 had authority over the premises?” Id. (cleaned up).

       The deputies argue that their belief was objectively reasonable because: (1)

 Leduc told them that he lived at Percival’s home and maintained personal and

 business items there and (2) Percival did not initially deny that Leduc was a personal

 resident at her home. MSJ at 13; see, e.g., Perera Dep. at 22:7–23:1; 27:11–14; 28:2–

 5; 36:2–10; 38:8–10, 70:7–18; Brizendine Dep. at 32:11–17; 44:24–45:1. But

 Percival denies telling any of the deputies that Leduc lived at her home, and she was

 adamant on the date of entry that Leduc never resided there. Percival Dep. at 59:9–

 23; Perera Dep. at 47:1–7; Brizendine Dep. at 32:18–33:3. Also, before entry, Leduc
                                           45
Case 8:23-cv-01243-KKM-LSG       Document 134     Filed 07/15/25   Page 46 of 60 PageID
                                       1684



 did not provide any evidence supporting his claim to living in Percival’s home. See

 Perera Dep. at 47:22–48:5. Leduc did not have a key to the home, and Leduc’s

 driver’s license, which Perera reviewed, listed another address. See id. at 35:1–17,

 36:11–18. Even with these disparities, Perera never sought additional evidence

 supporting Leduc’s claim. Id. at 47:8–15. Brizendine did not seek any confirmatory

 evidence either, instead relying solely on the word of Leduc and Perera. Brizendine

 Dep. at 31:20–32:16. Even though Leduc appears to have left property in Percival’s

 home, see Perera Dep. at 28:6–19; Brizendine Dep. at 41:6–11, the deputies did not

 know see that evidence at the time they decided to enter and therefore it cannot

 retroactively justify their entry, cf. Williams v. State, 788 So. 2d 334, 336 (Fla. 5th

 DCA 2001) (“A warrantless entry is valid when based on the consent of a third party

 whom police, at the time of entry, reasonably believe possesses common authority

 over the premises, but who in fact does not possess such authority.” (emphasis

 added)).

       In sum, even assuming Leduc’s consent could provide a basis for entry, given

 the genuine dispute about whether Percival told Perera that Leduc lived there,

 Percival’s adamance on the date of entry that Leduc did not reside at the home, and



                                           46
Case 8:23-cv-01243-KKM-LSG       Document 134     Filed 07/15/25   Page 47 of 60 PageID
                                       1685



 the lack of any evidence as to Leduc’s residence other than Leduc’s word, the

 deputies are not entitled to summary judgment based on Leduc’s consent to entry.

       The deputies also assume that Fourth Amendment case law informs the

 exigency standard under Florida tort law. MSJ at 14–16, 30–31. From my review,

 there does not appear to be much of a disparity. Compare Webster v. State, 201

 So. 2d 789, 792 (Fla. 4th DCA 1967) (“[T]he criterion is the reasonableness of the

 belief of the police as to the existence of an emergency.”), with Evans, 958 F.3d at

 1106 (describing the federal rule as “whether there was ‘an objectively reasonable

 basis for believing’ that medical assistance was needed, or persons were in danger”

 (quoting Fisher, 558 U.S. at 49)). Therefore, I conclude that no “exigent

 circumstance” supported the deputies’ entry. See supra at 18–21. I also note that

 allowing the deputies to base their entry on Percival’s refusal to authorize Leduc’s

 entry would have the effect of eroding Percival’s property rights. Cf. Lapace v. State,

 257 So. 3d 588, 596 (Fla. 2d DCA 2018) (“Ms. Lawson’s reaction to the deputies’

 presence at her home, together with her unwillingness to allow the deputies into the

 house, cannot satisfy the requisite showing of an objective belief that there was an

 ongoing emergency that required the immediate attention of the police.”).



                                           47
Case 8:23-cv-01243-KKM-LSG       Document 134     Filed 07/15/25   Page 48 of 60 PageID
                                       1686



       For these reasons, I conclude that the deputies are not entitled to summary

 judgment on Count IX.

           v. Count XI: False Imprisonment/False Arrest

       The Eleventh Circuit has “held that ‘under Florida law false arrest and false

 imprisonment are different labels for the same cause of action.’ ” Coleman v.

 Hillsborough County, 41 F.4th 1319, 1327 (11th Cir. 2022) (quoting Rankin, 133

 F.3d at 1430 n.5). Probable cause serves as a defense. See Ford v. City of Boynton

 Beach, 323 So. 3d 215, 219 (Fla. 4th DCA 2021); Kimbrel, 385 So. 3d at 1127.

 Percival alleges that the deputies committed this tort when they restrained her inside

 her home and then arrested her. Second Am. Compl. ¶ 192. Because the deputies’

 actions to restrain and arrest Percival were supported by probable cause, see supra at

 25–30, the deputies are entitled to summary judgment as to Count XI.

           vi. Count XIII: Illegal Search of Home

       Florida courts have recognized the “tort of invasion of privacy” when a

 defendant intrudes “upon the plaintiff’s physical solitude or seclusion, as by invading

 his home.” Guin, 388 So. 2d at 606 (quotation omitted). The invasion must, as an

 objective matter, “go beyond all possible bounds of decency.” Stoddard v. Wohlfahrt,

 573 So. 2d 1060, 1062 (Fla. 5th DCA 1991) (quoting Ponton v. Scarfone, 468 So.
                                           48
Case 8:23-cv-01243-KKM-LSG        Document 134    Filed 07/15/25   Page 49 of 60 PageID
                                        1687



 2d 1009, 1011 (Fla. 2d DCA 1985)). The invasion tort is distinct from the tort of

 trespass, which a defendant commits by “merely entering a building.” Guin, 388 So.

 2d at 606. Florida courts have held that, in some circumstances, a plaintiff can plead

 the two torts in the parallel. See id.

       Percival alleges that the deputies “conducted an illegal search of [her] home

 when they crossed the threshold of [her] home absent a warrant, consent, probable

 cause, or warrant exceptions, in violation of [her] rights under Article I, Section 12

 of the Florida Constitution.” Second Am. Compl. ¶ 205. The deputies raise the

 same merits arguments as they did with respect to the trespass claim. See MSJ at

 12–16, 31–32. They also argue that they are entitled to summary judgment because

 “there is no evidence [they] searched [Percival’s] home” and because this claim

 merges with Percival’s trespass claim. See id. at 31.

       This count is “poorly phrased” and “incorrectly grounds” Percival’s claim in

 the Florida Constitution. MTD Order at 23; see Depaola v. Town of Davie, 872

 So. 2d 377, 380 (Fla. 4th DCA 2004) (“[N]o cause of action exists for money

 damages for a violation of a state constitutional right.”). Like with the amended

 complaint, though, I construe Percival’s claim as one for an invasion of privacy. See

 MTD Order at 23; Resp. at 27 (relying on Guin).
                                           49
Case 8:23-cv-01243-KKM-LSG       Document 134     Filed 07/15/25    Page 50 of 60 PageID
                                       1688



       For the same reasons as above, I reject the argument that the deputies are

 entitled to judgment as a matter of law under § 768.28(9)(a), the consent exception,

 and the exigent circumstances exception. See supra at 43–48. On the authority of

 Guin, I also reject the deputies’ merger argument. See MTD Order at 23–24.

 Finally, even though the deputies appear not to have “conducted a formal search,”

 id. at 24; see Percival Dep. at 92:5–7, the record indicates that the deputies walked

 through Percival’s home by following Leduc while he collected his belongings, see

 Brizendine Dep. at 74:21–75:20; Percival Aff. ¶¶ 22–32; see also Perera Dep. at

 49:20–50:13; Percival Dep. at 92:8–21. In the light of this evidence, the deputies are

 not entitled to summary judgment on Count XIII. Cf. MTD Order at 24.

           B. Percival’s Claims against Chronister

       Percival pleads four state law counts against Chronister in his official capacity.

 See Second Am. Compl. ¶¶ 172–76 (Count VIII–Battery); id. ¶¶ 185–90 (Count

 X–Trespass to Land); id. ¶¶ 198–202 (Count XII–False Imprisonment/Arrest); id.

 ¶¶ 209–14 (Count XIV–State Law Illegal Search). Chronister argues that judgment

 must be granted in his favor because Percival failed to comply with Florida’s presuit

 notice statute, see § 768.28(6)(a), Fla. Stat., and because the claims fail as a matter

 of law.
                                           50
Case 8:23-cv-01243-KKM-LSG       Document 134      Filed 07/15/25     Page 51 of 60 PageID
                                       1689



           1. Section 768.28(6)’s Presuit Notice Requirement

       Section 768.28, Florida Statutes, governs the extent that “the state[] for itself

 and for its agencies or subdivisions . . . waives sovereign immunity for liability for

 torts.” § 768.28(1), Fla. Stat. With exceptions not relevant here:

           An action may not be instituted on a claim against the state or one
           of its agencies or subdivisions unless the claimant presents the claim
           in writing to the appropriate agency, and also, except as to any claim
           against a municipality, county, or the Florida Space Authority,
           presents such claim in writing to the Department of Financial
           Services, within 3 years after such claim accrues and the Department
           of Financial Services or the appropriate agency denies the claim in
           writing.

 Id. § 768.28(6)(a). In this notice, the claimant must provide, among other things,

 “the claimant’s date and place of birth and social security number if the claimant is

 an individual, or a federal identification number if the claimant is not an individual.”

 Id. § 768.28(6)(c). “[T]he requirements of notice to the agency and denial of the

 claim pursuant to paragraph (a) are conditions precedent to maintaining an action.”

 Id. § 768.28(6)(b). Section 768.28(6)(a)’s language “is clear and must be strictly

 construed.” Menendez v. N. Broward Hosp. Dist., 537 So. 2d 89, 91 (Fla. 1988).

       Section 768.28(6) applies to the sheriff “as a separate entity or agency of a

 political subdivision.” Beard v. Hambrick, 396 So. 2d 708, 711 (Fla. 1981); see


                                           51
Case 8:23-cv-01243-KKM-LSG       Document 134       Filed 07/15/25   Page 52 of 60 PageID
                                       1690



 Stephens v. Geoghegan, 702 So. 2d 517, 527 (Fla. 2d DCA 1997) (“A suit against

 a defendant in his official capacity is, in actuality, a suit against the governmental

 entity which employs him.”). Therefore, Percival’s burden is to prove that she

 satisfied § 768.28(6)(a)’s requirements. See Pirez v. Brescher, 584 So. 2d 993, 995

 (Fla. 1991).

       Chronister argues that the notice requirement was not satisfied for three

 reasons. I disagree with his first two reasons but agree with his last.

       First, § 768.28(6)(c) requires a plaintiff to “provide to the agency the

 claimant’s date and place of birth and social security number.” Percival’s notice

 omitted her place of birth, and Chronister moves for summary judgment on that

 basis. See (Doc. 116-5) at 3; MSJ at 10. This is not fatal to Percival’s claim because

 the next subsection of § 768.28 provides that a plaintiff’s compliance with subsection

 (6)(c) “shall occur prior to settlement payment, close of discovery or commencement

 of trial, whichever is sooner.” § 768.28(6)(d), Fla. Stat.; see Williams v. Henderson,

 687 So. 2d 838, 839 (Fla. 2d DCA 1996). Percival provided her place of birth in her

 deposition. See Percival Dep at 11:22–12:12. Therefore, she remedied her omission

 before the “close of discovery.” § 768.28(6)(d).



                                           52
Case 8:23-cv-01243-KKM-LSG       Document 134     Filed 07/15/25   Page 53 of 60 PageID
                                       1691



       Second, the parties do not dispute that “[o]n June 2, 2021, [Percival], through

 a legal assistant in the office of [her] counsel, sent an email to [Chronister]

 containing a ‘§768.28 Notice Letter.’ ” JSUF ¶ 14; see (Doc. 116-5). Despite this

 undisputed fact, Chronister argues that a reasonable jury could not find that Percival

 met the notice requirement, because “there is no record evidence that Sheriff

 Chronister actually received, in hand, the pre-suit notice that was allegedly emailed

 to him.” MSJ at 11. Chronister relies on Simmons v. Public Health Trust of Miami-

 Dade County, where the Third District Court of Appeal rejected the application of

 the mailbox rule and held that “a claimant ‘presents’ his notice of claim under section

 768.28(6) on the date the state agency or subdivision receives, in hand, the notice of

 claim, not on the date that the claimant mails his notice of claim to the agency or

 subdivision.” 338 So. 3d 1057, 1065 (Fla. 3d DCA 2022). The timeliness of

 Percival’s notice does not turn on application of the mailbox rule. Indeed, Chronister

 agrees that Percival emailed him the notice two years before § 768.28(6)(a)’s

 deadline. JSUF ¶ 14. Given that the email is in the record and Chronister provides

 no evidence to contest that he received it within § 768.28(6)(a)’s timeline,

 Chronister is not entitled to summary judgment on this basis. Cf. Kennell v. Gates,

 215 F.3d 825, 829 (8th Cir. 2000) (“A jury generally is permitted to infer that
                                           53
Case 8:23-cv-01243-KKM-LSG          Document 134       Filed 07/15/25     Page 54 of 60 PageID
                                          1692



 information sent via a reliable means—such as the postal service or a telegram—was

 received. We see no principled reason why a jury would not be able to make the same

 inference regarding other forms of communication—such as [e-mail]—provided

 they are accepted as generally reliable and that the particular message is properly

 dispatched.”).11

        Chronister’s third argument is that he remains immune from suit because

 Percival failed to notice Florida’s Department of Financial Services (DFS). As a

 condition precedent to initiating an action against the state or one of its agencies or

 subdivisions, a plaintiff must ordinarily present her claim to the “appropriate agency”

 and DFS. § 768.28(6)(a), Fla. Stat. A plaintiff is not required to present her claim

 to DFS, though, when her claim is against “a municipality, county, or the Florida

 Space Authority.” Id. So, the question is whether Chronister, as sheriff, qualifies as

 a “county.”




 11
   In an affidavit, Andrea Macias states that she emailed the notice to Chronister and did not
 receive “a return email stating that [her] email was not or could not be delivered.” Macias Aff.
 (Doc. 129-3) ¶¶ 6–9. Chronister responds that Percival did not disclose Macias under Rule 26
 and thus her affidavit cannot be considered. See FED. R. CIV. P. 37(c)(1). Because of my
 conclusion that Percival failed to comply because she did not serve the Department of Financial
 Services, I do not address Chronister’s contention under Rule 37(c)(1).
                                               54
Case 8:23-cv-01243-KKM-LSG       Document 134      Filed 07/15/25    Page 55 of 60 PageID
                                       1693



       The Florida Supreme Court has not yet decided this question. See SE Prop.

 Holdings, LLC v. Welch, 65 F.4th 1335, 1342 (11th Cir. 2023) (“Because we are

 interpreting Florida law, we look first for case precedent from Florida’s highest

 court—the Florida Supreme Court.”). In Beard, the Florida Supreme Court

 concluded that “a sheriff is subject to the provisions of section 768.28 for the

 negligence or wrongful act of one of his deputies or employees under circumstances

 in which ‘a private person would be liable.’ ” 396 So. 2d at 711–712. In ruling, the

 Court described a sheriff as “a county official” and “an integral part of the ‘county’ as

 a ‘political subdivision.’ ” Id. This mirrors the Florida Constitution, which includes

 a sheriff as a “county officer.” FLA. CONST. art. VIII, § 1(d); see Beard, 396 So. 2d

 at 712 (“In our opinion, there is no reasonable way to construe article VIII, section

 1, other than to include sheriffs as well as other named county officers as part of a

 county.”).

       Beard also defined a sheriff as “a separate entity or agency of a political

 subdivision.” 396 So. 2d at 711. A later decision, which concerned “proper notice”

 to a sheriff under § 768.28(6)(a), emphasized this part of Beard. See Pirez, 584

 So. 2d at 995. In Pirez, the question was whether notice to the county attorney

 sufficed under § 768.28(6)(a) regarding a claim against the sheriff. Id. at 994. The
                                            55
Case 8:23-cv-01243-KKM-LSG       Document 134      Filed 07/15/25   Page 56 of 60 PageID
                                       1694



 Florida Supreme Court concluded no: “[t]he county attorney’s office does not

 represent the sheriff,” and “therefore, notice to the county attorney is not sufficient

 under section 768.28(6)(a) when a lawsuit is filed against the sheriff.” Id. at 995; see

 § 768.28(6)(a), Fla. Stat. (requiring presentation “to the appropriate agency”).

       Although related, these precedents do not decide the question, so state

 intermediate appellate decisions provide some guidance. See Welch, 65 F.4th at

 1342. Most recently, in Staly v. Izotova, the Fifth District Court of Appeal

 concluded that the plaintiff, in a suit against the sheriff, failed to comply with

 § 768.28(6)(a) because she failed to properly present her claim to both the sheriff

 and DFS. 403 So. 3d 1034, 1038 (Fla. 5th DCA 2024) (finding that the plaintiff

 “failed to comply with the statute because she did not serve a notice on the

 Department of Financial Services.”). Although helpful to Chronister, Staly

 concerned only whether the plaintiff sufficiently noticed DFS; the court did not

 address the antecedent question of whether a plaintiff needed to notice DFS when

 she has a claim against the sheriff.

       Staly’s result is supported, though, by the principle that § 768.28(6)(a) “must

 be strictly construed” because it is a waiver of sovereign immunity. Levine, 442 So.

 2d at 212. The First District Court of Appeal employed this rule of construction in
                                           56
Case 8:23-cv-01243-KKM-LSG          Document 134        Filed 07/15/25     Page 57 of 60 PageID
                                          1695



 holding that a plaintiff needed to present her claim to DFS’s precursor, the

 Department of Insurance, in a suit against an “agency of a municipality.” McSwain

 v. Dussia, 499 So. 2d 868, 870 (Fla. 1st DCA 1986). That court explained that “the

 statute must be given literal effect” and “only if the claim is against a ‘municipality’

 itself is notice on the Department of Insurance excused.” Id. But cf. Soto v. Franklin

 Acad. Found., Inc., 386 So. 3d 150, 151 (Fla. 4th DCA 2024) (suggesting that in a

 suit against a “ ‘county’ agency,” presentation to DFS is not required); Lederer v.

 Orlando Utilities Comm’n, 981 So. 2d 521, 523 (Fla. 5th DCA 2008) (stating that

 notice is not required before bringing suit against “a component part of the City,

 such as its police or fire department”).

        In the light of strict construction for waivers of sovereign immunity, I

 conclude that the text of the exception (which specifies a “county,” not “county

 officers” or a “sheriff”) and the above Florida caselaw suggest that a plaintiff with a

 claim against a sheriff must present her claim to the Department of Financial

 Services under § 768.28(6)(a).12 Even though DFS may not be involved in suits



 12
   This is yet another case that proves both litigants and courts “would benefit from amendment to
 the Florida Constitution to permit federal district courts to certify questions to the Florida
 Supreme Court.” Emergency Recovery, Inc. v. Gov’t Employees Ins. Co., 773 F. Supp. 3d 1304,
 1315 n.8 (M.D. Fla. 2025).
                                                57
Case 8:23-cv-01243-KKM-LSG      Document 134      Filed 07/15/25   Page 58 of 60 PageID
                                      1696



 against sheriffs, the Florida Supreme Court has “strictly construed” this exception,

 prioritizing adherence to the “plain language of the statute” over consideration of

 DFS’s “intended function” in “the defense” of the suit at hand. Levine, 442 So. 2d

 at 212–213; accord Metro. Dade Cnty. v. Reyes, 688 So. 2d 311, 313 (Fla. 1996).

 In other words, it is for the Florida Legislature to make clear—not the judiciary to

 divine based on extratextual considerations—whether and when sovereign immunity

 is abrogated. See McSwain, 499 So. 2d at 870.

       This result is supported by Pirez, which distinguishes between the sheriff and

 the county on “the issue of proper notice,” 584 So. 2d at 995; see Obremski v. Armor

 Corr. Health Services, Inc., 467 F. Supp. 3d 1265, 1283 n.9 (S.D. Fla. 2020)

 (“Pirez’s central holding [is] that the sheriff is not the county.” (emphasis added)),

 and Staly, which at least suggests that notice to DFS is needed in this context, see

 403 So. 3d at 1038. Other pieces of evidence also support a distinction in Florida

 law between a county and its sheriff. See, e.g., § 30.53, Fla. Stat. (preserving the

 “independence of the sheriffs” “concerning the purchase and procurement of supplies

 and equipment, selection of personnel, and the hiring, firing, and setting of salaries

 of such personnel”).



                                          58
Case 8:23-cv-01243-KKM-LSG      Document 134      Filed 07/15/25   Page 59 of 60 PageID
                                      1697



       To be sure, not all indicators of the meaning of the exception for “county”

 point in the same direction. For example, Beard defines a sheriff “as an integral part

 of the ‘county.’ ” 396 So. 2d at 711. And the Florida Supreme Court presumes that

 the Florida Legislature operates with judicial precedents in mind when enacting

 subsequent legislation. See Adler-Built Indus., Inc. v. Metro. Dade Cnty., 231 So.

 2d 197, 199 (Fla. 1970) (“The Legislature is presumed to be acquainted with judicial

 decisions on the subject concerning which it subsequently enacts a statute.”).

       Although perhaps sound policy to exempt notice to DFS which plays no

 discernable role in paying judgments against a sheriff, that kind of argument is the

 sort of “speculation” and “consideration” of “efficacy” that the Florida Supreme

 Court has forsworn in this area. See Levine, 442 So. 2d at 212. And although Beard

 is informative, it does not overcome the Florida Supreme Court’s strict construal of

 the notice provision. Because I must answer this question the “the way it appears the

 [Florida Supreme Court] would,” Ernie Haire Ford, Inc. v. Ford Motor Co., 260

 F.3d 1285, 1290 (11th Cir. 2001) (quotation omitted), I conclude, based on Levine

 and other precedent strictly construing § 768.28(6)(a), that notice to DFS is required

 under the statute when suing a sheriff. Because Percival did not provide notice to



                                          59
Case 8:23-cv-01243-KKM-LSG      Document 134      Filed 07/15/25    Page 60 of 60 PageID
                                      1698



 DFS within three years of her claims’ accrual, Chronister’s motion for summary

 judgment is granted. See Staly, 403 So. 3d at 1038.

 IV.   CONCLUSION

       Accordingly, the following is ORDERED:

       1.    The Motion for Summary Judgment (Doc. 116) is GRANTED as to

             Counts II, IV, V, VI, VIII, X, XI, XII, and XIV. The Motion for

             Summary Judgment is otherwise DENIED. Counts I, III, VII, IX, and

             XIII will proceed to trial.

       2.    No later than July 25, 2025, the parties are directed to file a joint notice

             of proposed trial dates for the remainder of 2025 and estimate the

             length of trial.

       ORDERED in Tampa, Florida, on July 15, 2025.




                                           60
